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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                                Case No.: 19-cv-00137
        Plaintiffs,
                                                                Judge Rebecca R. Pallmeyer
v.
                                                                Magistrate Judge Jeffrey T. Gilbert
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
               160                                    Jianjian2015



DATED: February 28, 2019                             Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
                                                     Telephone: 708-203-4787
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
   Case: 1:19-cv-00137 Document #: 18 Filed: 02/28/19 Page 2 of 2 PageID #:5198



                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on February 28, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt




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